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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-cr-00168-CMA

UNITED STATES OF AMERICA,

              Plaintiff,

v.

1.     KAREN LYNN MCCLAFLIN,

     Defendant.
______________________________________________________________________

                         ORDER TO RESTRICT
______________________________________________________________________

       This matter is before the Court on the Government’s Motion to Restrict the

Government’s Report Regarding the Bureau of Prison’s Ability to Care for the

Defendant’s Medical Issues, its attachment [Doc. 68] and Brief. Upon consideration and

for good cause shown,

       IT IS ORDERED that said documents and the United States’ Brief in Support of

Motion to Restrict, are hereby restricted until further order by the Court.

       IT IS ORDERED that said the Government’s Report Regarding the Bureau of

Prison’s Ability to Care for the Defendant’s Medical Issues, its attachment [Doc. 68] and

the United States’ Brief in Support of Motion to Restrict, are hereby at a “Level 2

Restriction" and will be “viewable by selected parties & court” only.

       IT IS SO ORDERED on this           day of ________________, 2018.




                                          HON. CHRISTINE M. ARGUELLO
                                          UNITED STATES DISTRICT COURT
                                          DISTRICT OF COLORADO
